                                 OPINION
On December 14, 1992, appellee, Jack Alger, pled guilty to four counts of rape, in violation of R.C. 2907.02, and three counts of gross sexual imposition, in violation of R.C. 2907.05. He was subsequently sentenced by the Lake County Court of Common Pleas to serve an indefinite term of incarceration of ten to twenty-five years on each count of rape, and a definite term of incarceration of two years on each count of gross sexual imposition, each sentence to be served consecutively. Having pleaded guilty to a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
By judgment entry filed July 16, 1997, the trial court, suasponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's Law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the judgment of the trial court is affirmed. _________________________________ JUDGE WILLIAM M. O'NEILL
FORD, P.J.,
NADER, J., concur.